               Case: 25-1813     Document: 1-1     Page: 1    Filed: 05/28/2025



                      UNITED STATES COURT OF APPEALS
                         FOR THE FEDERAL CIRCUIT
                                  717 MADISON PLACE, N.W.
                                  WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                            CLERK’S OFFICE
  CLERK OF COURT                                                               202-275-8000


                                        May 28, 2025

                               NOTICE OF DOCKETING


Federal Circuit Docket No.: 2025-1813

Federal Circuit Short Caption: The State of Oregon v. Trump

Date of Docketing: May 28, 2025

Originating Tribunal: United States Court of International Trade

Originating Case No.: 1:25-cv-00077-GSK-TMR-JAR

Appellant(s): Donald J. Trump, United States Department of Homeland Security, Kristi
Noem, United States Customs and Border Protection, Pete R. Flores, United States

    A notice of appeal has been filed and assigned the above Federal Circuit case number.
The court's official caption is included as an attachment to this notice. Unless otherwise
noted in the court's rules, the assigned docket number and official caption or short
caption must be included on all documents filed with this Court. It is the responsibility of
all parties to review the Rules for critical due dates. The assigned deputy clerk is noted
below and all case questions should be directed to the Case Management section at (202)
275-8055.

   The following filings are due within 14 days of this notice:

   •   Entry of Appearance or Notice of Unrepresented Person. (Fed. Cir. R. 47.3.)
   •   Certificate of Interest. (Fed. Cir. R. 47.4; not required for unrepresented and
       federal government parties unless disclosing information under Fed. Cir. R.
       47.4(a)(6))
   •   Docketing Statement. Note: The Docketing Statement is due in 30 days if the
       United States or its officer or agency is a party in the appeal. (Fed. Cir. R. 47.6 and
       the Mediation Guidelines; no docketing statement is required in cases with an
       unrepresented party)
   •   Statement Concerning Discrimination in MSPB or arbitrator cases. (Fed. Cir. R.
       15(c); completed by petitioner only)
              Case: 25-1813     Document: 1-1     Page: 2    Filed: 05/28/2025


   •   Fee payment or appropriate fee waiver request, if the docketing fee was not
       prepaid (see Fee Payment below).

FILING DOCUMENTS: Each counsel representing a party must be a member of the
court's bar and registered for the court's electronic filing system. Parties represented by
counsel must make all filings through the court's electronic filing system.

Unrepresented parties may choose to submit case filings to the court either in paper or
through the court's electronic filing system; electronic filing will only be permitted for
unrepresented parties after successful registration for the court's electronic filing system
and submission of a completed Notice of Unrepresented Person Appearance. Fed. Cir. R.
25(a). The court's Electronic Filing Procedures may be accessed here.

CONTACT INFORMATION: Electronic filers, or unrepresented parties registered to
receive electronic service, must update their contact information in their PACER service
center profile whenever their contact information changes. Counsel must file an amended
Entry of Appearance and unrepresented parties must file an amended Notice of
Unrepresented Person Appearance whenever contact information changes. Fed. Cir. R.
25(a)(5).

FEE PAYMENT: Unless the filing fee was prepaid, fee payment must be submitted
within fourteen days after this notice. Fed. Cir. R. 52(d). For outstanding docketing fees
due to this court, electronic filers must pay the fee using the event Pay Docketing Fee
through the court's electronic filing system. Fed. Cir. R. 52(e). Docketing fees due to other
courts, such as U.S. District Courts, the U.S. Court of Appeals for Veterans Claims, and
non-vaccine cases at the U.S. Court of Federal Claims, must be submitted to those courts
in accordance with their procedures. A filer wishing to proceed without fee payment must
submit a motion for leave to proceed in forma pauperis, or other fee waiver request,
within fourteen days.

OFFICIAL CAPTION: The court's official caption is attached and reflects the lower
tribunal's caption pursuant to Fed. R. App. P. 12(a), 15(a), and 21(a). Please review the
caption carefully and promptly advise this court in writing of any improper or inaccurate
designations.




                                              By: J. Alvino, Deputy Clerk
              Case: 25-1813    Document: 1-1     Page: 3   Filed: 05/28/2025


Attachments:

   •   Official caption
   •   Paper Copies of General Information and Forms (to unrepresented parties only):
          o General Information and Overview of a Case in the Federal Circuit
          o Notice of Unrepresented Person Appearance
          o Informal Brief
          o Informal Reply Brief (to be completed only after receiving the opposing
              party's response brief)
          o Motion and Affidavit for Leave to Proceed in Forma Pauperis (only to filers
              owing the docketing fee)
          o Supplemental in Forma Pauperis Form for Prisoners (only to filers in a
              correctional institution)
          o Statement Concerning Discrimination (only to petitioners in MSPB or
              arbitrator case)

cc: United States Court of International Trade
         Case: 25-1813    Document: 1-1    Page: 4   Filed: 05/28/2025


                              Official Caption


  THE STATE OF OREGON, THE STATE OF ARIZONA, THE STATE OF
     COLORADO, THE STATE OF CONNECTICUT, THE STATE OF
  DELAWARE, THE STATE OF ILLINOIS, THE STATE OF MAINE, THE
 STATE OF MINNESOTA, THE STATE OF NEVADA, THE STATE OF NEW
   MEXICO, THE STATE OF NEW YORK, THE STATE OF VERMONT,
                       Plaintiffs-Appellees

                                      v.

  PRESIDENT DONALD J. TRUMP, UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, KRISTI NOEM, Secretary of Homeland Security,
   in her official capacity as Secretary of the Department of Homeland
Security, UNITED STATES CUSTOMS AND BORDER PROTECTION, PETE
 R. FLORES, Acting Commissioner for United States Customs and Border
    Protection, in his official capacity as Acting Commissioner for U.S.
            Customs and Border Protection, UNITED STATES,
                             Defendants-Appellants



                               Short Caption

                         The State of Oregon v. Trump
